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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 21-cr-542-TJK
              v.                            :
                                            :
JONATHON OWEN SHROYER                       :
                                            :
                      Defendant.            :

     UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION OF DEADLINE
            TO RESPOND TO DEFENDANT’S MOTION TO DISMISS

       The United States respectfully requests a two-week extension of the May 20 deadline for

filing an opposition to the defendant, Jonathon Owen Shroyer’s motion to dismiss.

       Shroyer is charged by criminal information with: (1) Entering and Remaining in a

Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); (2) Disorderly and

Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2);

(3) Disorderly Conduct in Capitol Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D); and

(4) Obstructing or Impeding Passage through or within Capitol Grounds, in violation of 40 U.S.C.

§ 5104(e)(2)(E). See Dkt. 5. These charges stem from the defendant’s conduct in Washington,

D.C., on and around January 6, 2021.

       On October 14, 2021, the defendant filed his first motion to dismiss. ECF 8. On December

20, 2021, the Court heard oral argument on the defendant’s motion, and, on January 20, 2022, the

Court denied the defendant’s motion and scheduled a status hearing for March 8, 2022. On March

7, 2022, the Court granted the defendant’s unopposed motion to continue the March 8 status

hearing (ECF 19), in part, to allow time for the defendant to prepare a renewed motion to dismiss

and scheduled a status hearing for April 7, 2022. On April 5, 2022, the Court granted the




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defendant’s unopposed motion to continue the April 7 status hearing (ECF 22), in part, to allow

time for the defendant to prepare his second motion to dismiss.

       On May 6, 2022, the defendant filed his second motion to dismiss. ECF 23. On May 9,

the Court set a briefing schedule, requiring the government to file an opposition to the defendant’s

motion by May 20. The motions hearing is currently scheduled for June 23.

       Both undersigned government counsel have experienced health and family issues during

the last two weeks that the government has detailed to defense counsel. Respectfully, the

government requests a two-week extension of its deadline for filing an opposition to the

defendant’s motion to dismiss, to June 3, 2022. If the defendant is still given one week to file his

reply, these motions will be fully briefed by June 10, thirteen days prior to the June 23 hearing.

       Undersigned government counsel conferred with counsel for the defendant, and he does

not oppose this request.

       WHEREFORE, the Government respectfully moves for a two-week extension of its

deadline to file its opposition to the defendant’s second motion to dismiss.

                                                      Respectfully submitted,

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